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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NORTH DAKOTA

Randy Poitra,                                 )
                                              )
                     Plaintiff,               )
                                              )   ORDER OF DISMISSAL
       vs.                                    )
                                              )   Case No. 3:20-cv-00123
Novartis Pharmaceuticals Corporation,         )
                                              )
                     Defendant.               )


       The parties filed a stipulation on August 13, 2020 agreeing that Plaintiff Randy Poitra

would voluntarily dismiss any claims for punitive damages without prejudice. Doc. No. 11. The

Court ADOPTS the stipulation (Doc. No. 11) in its entirety and ORDERS any claims for punitive

damages dismissed pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure

without prejudice.

       IT IS SO ORDERED.

       Dated this 17th day of August, 2020.

                                                  /s/ Peter D. Welte
                                                  Peter D. Welte, Chief Judge
                                                  United States District Court
